Case 2:21-cv-02914-JDC-KK Document 1 Filed 08/26/21 Page 1 of 14 PageID #: 1




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                               LAKE CHARLES DIVISION

  HEATHER, INC. D/B/A SUBWAY 527 &                 §
  25751; COUNTRY CLUB SUBS, LLC DBA                §
  SUBWAY 41537 AND LAKE STREET                     §
  SUBS LLC DBA SUBWAY 63359                        §
        Plaintiffs                                 §   Civil Action No. __________________
                                                   §
  v.                                               §
                                                   §
  AMERICAN FIRE & CASUALTY                         §
  COMPANY                                          §
      Defendant                                    §

                            PLAINTIFFS’ ORIGINAL COMPLAINT



        Insurer arbitrarily, capriciously, or without probable cause delayed and
        underpaid the Policyholders’ covered claims caused by Hurricane Laura and
        Hurricane Delta.


       NOW INTO COURT, HEATHER, INC. D/B/A SUBWAY 527 & 25751; COUNTRY

 CLUB SUBS, LLC DBA SUBWAY 41537 AND LAKE STREET SUBS LLC DBA

 SUBWAY 63359        (“HEATHER, INC.” or “Insured” or “Plaintiff”), by and through their

 undersigned counsel, hereby issue their Original Complaint against AMERICAN FIRE &

 CASUALTY COMPANY (“AMERICAN FIRE” or “Insurer” or “Defendant”) and allege,

 upon information and belief, the following:

                                  I.    NATURE OF ACTION

        1.      HEATHER, INC. D/B/A SUBWAY 527 & 25751; COUNTRY CLUB SUBS, LLC

 DBA SUBWAY 41537 AND LAKE STREET SUBS LLC DBA SUBWAY 63359 (“HEATHER,

 INC.”) seek to recover from Defendant all damages, penalties, fees, interest, and other relief



 Plaintiffs’ Original Complaint             Page 1 of 14
Case 2:21-cv-02914-JDC-KK Document 1 Filed 08/26/21 Page 2 of 14 PageID #: 2




 to which they are legally entitled arising from Defendant’s arbitrary and capricious failure to

 promptly and fully pay benefits owed under its commercial policy for losses arising from a

 catastrophic hurricane that made landfall in Louisiana on August 27, 2020 and/or October 9,

 2020 and caused significant damage to the commercial buildings in which they conduct

 business, and to their loss of business income.

                                      II.    THE PARTIES

        2.      HEATHER, INC. is an active business partnership domiciled in Lake Charles,

 Louisiana.

        3.      Defendant herein, AMERICAN FIRE & CASUALTY COMPAY, is a foreign

 insurance company licensed to do business in the State of Louisiana who may be served

 through its registered agent of service of process, Louisiana Secretary of State, 8585 Archives

 Avenue, Baton Rouge, Louisiana 70809.

        4.      Upon information and belief, Defendant is an admitted insurer authorized to

 do, and doing business, in the State of Louisiana.

                             III.    JURISDICTION AND VENUE

        5.      This Court has diversity jurisdiction over the parties pursuant to 28 U.S.C. §

 1332(a) because Defendant is not a citizen of the same state as Plaintiffs and the amount in

 controversy exceeds $75,000, exclusive of interest and costs.

        6.      Defendant engages in the business of insurance in the State of Louisiana. The

 conduct of Defendant in the State of Louisiana includes:

                (a) The making and issuing of contracts of insurance with the Plaintiffs;

                (b) The taking and receiving the application of insurance from the Plaintiffs;

                (c) The receiving or collection of premiums, commissions, membership fees,
                    assessments, dues or other consideration for any insurance or any part



 Plaintiffs’ Original Complaint             Page 2 of 14
Case 2:21-cv-02914-JDC-KK Document 1 Filed 08/26/21 Page 3 of 14 PageID #: 3




                    thereof, including any such consideration or payments from the Plaintiffs;
                    and

                (d) The issuance or deliver of contracts of insurance to residents of this State
                    or a person authorized to do business in this state, including the Plaintiffs.

          7.    Venue in this judicial district is proper pursuant to 28 U.S.C. § 1391(b) and (c)

 because Defendant issued and delivered an insurance policy to the Plaintiffs in Lake Charles,

 Louisiana that is the subject of this action. Defendant is a corporation which is deemed to

 reside in any judicial district where its contacts would be sufficient to subject it to personal

 jurisdiction at the time the action is commenced.

                                       IV.    THE POLICY

          8.    At all pertinent times, including August 27, 2020 and October 9, 2020,

 Defendant provided a commercial policy insurance coverage to Plaintiffs’ business property

 under said contract of insurance with full replacement cost at the time listed by the insurer as

 described below. The insuring agreement is identified by policy number BZA (21) 58 59 59

 59 for the following properties: 1. Country Club Subs LLC d/b/a Subway 41537 at 2716

 Country Club Road, , Lake Charles, Louisiana; 2. Heather, Inc. d/b/a Subway Store 527 at

 125 W. McNeese Street, Lake Charles, Louisiana; 3. Heather Inc. d/b/a Subway Store 25721

 at 4530 Nelson Road, Lake Charles, Louisiana and 4. Lake Street Subs LLC DBA Subway

 63359.

          9.    The insuring agreement required the Plaintiffs to make payments to the insurer

 and in exchange the insurance company would indemnify the Plaintiffs in the event of a

 covered loss. Plaintiffs faithfully paid the required premium, and the relevant policy is

 currently in full effect, providing property, business personal property, business income, and

 other coverages.




 Plaintiffs’ Original Complaint              Page 3 of 14
Case 2:21-cv-02914-JDC-KK Document 1 Filed 08/26/21 Page 4 of 14 PageID #: 4




        10.     Defendant received the application for insurance and accepted the risk for

 insurance and bound coverage prior to the time Hurricane Laura and/or Hurricane Delta struck

 Plaintiffs’ businesses.

        11.     Pursuant to the terms of the policy, Defendant agreed to timely and promptly

 pay or reimburse Plaintiffs for:

                (a) Property damage to their main business;

                (b) Property damage to personal property; and

                (c) Loss of Business income.

        12.     The Plaintiffs purchased property coverage for the commercial properties and

 business personal property.

         V.      DAMAGE CAUSED BY HURRICANES LAURA AND/OR DELTA

        13.     Hurricane Laura reached Category 4 status with wind speeds of 150 MPH and

 gust of 185 MPH as landfall was made around 1:00 AM on August 27, 2020, near Cameron,

 Louisiana. Hurricane Laura maintained 140 MPH wind speed with gust of 185 MPH as it

 passed just east of Hackberry, Louisiana. Laura maintained Category 4 status until passing

 Dequincy, Louisiana. Hurricane Laura maintained Level 1 status until passing Jonesboro,

 LA.

        14.     Hurricane Delta made landfall in Creole, LA on October 9, 2020, as a Category

 2 hurricane.    Hurricane Delta exhibited winds at 70 mph along with wind gusts of

 approximately 115 mph.

        15.     The properties in question are less than sixty miles from passage of the eye

 center (in Cameron, LA during Hurricane Laura). Hurricane force winds extended out from

 the eye sixty miles. The properties in question sustained hurricane-forced winds, including




 Plaintiffs’ Original Complaint            Page 4 of 14
Case 2:21-cv-02914-JDC-KK Document 1 Filed 08/26/21 Page 5 of 14 PageID #: 5




 gusts in excess of sustained winds, from the only Category 4 hurricane to make landfall in

 Louisiana.

        16.    The businesses were damaged by Hurricane Laura on August 27, 2020 and

 again on October 9, 2020 by Hurricane Delta. The Hurricanes caused major damage to the

 businesses. The damage includes:

               (a) Significant property damage to each of the locations; and

               (b) Loss of business interruption due to significant property damage and/or

                   civil authority

        17.    Plaintiffs have complied with all of their duties under the policy by timely

 paying the premium, filing the claim, and providing notice to Defendant.

        18.    The Plaintiffs have sustained and continues to sustain significant damages that

 continue and will continue for the foreseeable future until Defendant pays for all covered

 damages.

                 VI. INSURER’S INADEQUATE INVESTIGATION,
              MISREPRESENTATIONS, DELAYS, UNTIMELY PAYMENTS, AND
                                FAILURE TO PAY

        19.    The chronology of the claim activities are as follows:

           Date                                           Activity
    August 25, 2020          Mandatory Evacuation order issued for Calcasieu Parish –
                             plaintiffs’ business is disrupted.
    August 27, 2020          HURRICANE LAURA Damages business
    August 28, 2020          Hurricane Laura Claim filed with Insurer
    September 11, 2020       Mandatory Evacuation lifted in Calcasieu Parish
    September 23, 2020       Lake St. subway opened for 5 days in between Hurricane Laura
                             and Delta, but was only allowed to do cash business, on a
                             limited basis. Did not have full power / internet to handle credit
                             card transactions. No other locations open.
    October 31, 2020         Country Club Road subway location opens back up again.
    November 9, 2020         Undersigned sends letter of representation to Insurer




 Plaintiffs’ Original Complaint             Page 5 of 14
Case 2:21-cv-02914-JDC-KK Document 1 Filed 08/26/21 Page 6 of 14 PageID #: 6




    March 30, 2021             McNeese and Nelson Road locations finally open up again.
                               This is the first time since Hurricane Laura that the stores could
                               open.
    May 4, 2021                Undersigned submits proof of loss with business interruption
                               documentation
    May 10, 2021               Insurer requests additional documents in response to proof of
                               loss.
    May 18, 2021               Undersigned submits additional documents to insurer via
                               dropbox link, which represents all documents that insureds’
                               financial consultants had to come up with their reports.


        20.       The Insurer has offered no further information on this claim or requested any

 additional information from the Insured in order to complete the loss adjustment for any of

 the Coverages.

        21.       On information and belief, on the date of the first notice by the insured, the

 insurer knew that HEATHER, INC. was unable to use its businesses and was under mandatory

 evacuation orders. Nevertheless, AMERICAN FIRE has delayed payment for loss of income

 by Plaintiffs and, as a result, Plaintiffs have sustained damages and continues to sustain

 damages as a result of the loss of business income. To date, despite having satisfactory

 proof of loss, American Fire has not paid ONE PENNY for the Plaintiffs’ loss of business

 income.

                                 VII. CAUSES OF ACTION
                             A. COUNT 1: BREACH OF CONTRACT

        22.       The Plaintiffs repeat, reallege and incorporate by reference each and every

 allegation contained in paragraphs 1 through 21 of this Original Complaint.

        23.       As set forth above, the Plaintiffs entered into a contract of insurance with

 Defendant that provides coverage for, inter alia, Property Damage and coverage for loss of

 business interruption.




 Plaintiffs’ Original Complaint               Page 6 of 14
Case 2:21-cv-02914-JDC-KK Document 1 Filed 08/26/21 Page 7 of 14 PageID #: 7




         24.     The Plaintiffs have performed all conditions, covenants, and promises required

 to be performed in accordance with the terms and conditions of the Policy.

         25.     Defendant agreed, and was legally and contractually required, to reasonably

 investigate the loss, provide a reasonable and timely coverage determination, and compensate

 the Insureds for all covered losses.

         26.     Defendant was required to conduct a reasonable, adequate, and diligent

 investigation of any claims made by the Insureds. Despite this obligation, Defendant has

 failed to pay any sums for the Plaintiffs’ loss of business income. Moreover, Defendant has

 severely delayed payments of exterior signs, property damages, etc…

         27.     Defendant continues to fail to pay for the covered damages despite knowing

 that the Insured is suffering and continues to suffer damages.

         28.     Defendant’s failure to promptly pay for the Insured’s covered loss of business

 interruption is a breach of the terms and conditions of the Policy and contrary to Louisiana

 Law.

         29.     As a direct and proximate result of the breaches by Defendant, the Plaintiffs

 have and will continue to incur substantial loss and damage, as well as attorney’s fees and

 costs, experts’ fees and costs, mitigation, investigation and other costs and expenses in excess

 of the jurisdictional limit of this court, according to proof.

                  B. COUNT 2 : NEGLIGENCE – LA. CIV. CODE ART. 2315

         30.     The Plaintiffs repeat, reallege, and incorporate by reference each and every

 allegation contained in paragraphs 1 through 29 of this Original Complaint.

         31.     Defendant owes a duty of care to the Plaintiffs under the terms and conditions

 of the Policy and Louisiana law.




 Plaintiffs’ Original Complaint               Page 7 of 14
Case 2:21-cv-02914-JDC-KK Document 1 Filed 08/26/21 Page 8 of 14 PageID #: 8




         32.     Defendant breached the duties owed to the Plaintiffs by failing to make just,

 adequate, and timely payment on claims submitted under the Policy for loss and damage the

 Plaintiffs sustained caused by a covered cause of loss under the Policy.

         33.     As a direct and proximate result of the breaches by Defendant, the Plaintiffs

 have and will continue to incur substantial loss and damage, as well as attorney’s fees and

 costs, experts’ fees and costs, mitigation, investigation and other costs and expenses in excess

 of the jurisdictional limit of this court, according to proof.

         C. COUNT 3: BREACH OF DUTY OF GOOD FAITH AND FAIR DEALING/

                              VIOLATIONS OF LA.R.S.§ 22:1973

         34.     The Plaintiffs repeat, reallege, and incorporate by reference each and every

 allegation contained in paragraphs 1 through 33 of this Original Complaint.

         35.     La. R.S. §22:1973(A) provides: “An insurer, including but not limited to a

 foreign line and surplus line insurer, owes to his insured a duty of good faith and fair dealing.

 The insurer has an affirmative duty to adjust claims fairly and promptly and to make a

 reasonable effort to settle claims with the insured or the claimant, or both. Any insurer who

 breaches these duties shall be liable for any damages sustained as a result of the breach.”

         36.     La. R.S. § 22:1973(B) provides: “Any one of the following acts, if knowingly

 committed or performed by an insurer, constitutes a breach of the insurer’s duties imposed in

 Subsection A:

                 (1)     Misrepresenting pertinent facts or insurance policy provisions relating
                 to any coverages at issue.

                 (5)    Failing to pay the amount of any claim due any person insured by the
                 contract within sixty days after receipt of satisfactory proof of loss from the
                 claimant when such a failure is arbitrary, capricious, or without probable
                 cause.




 Plaintiffs’ Original Complaint               Page 8 of 14
Case 2:21-cv-02914-JDC-KK Document 1 Filed 08/26/21 Page 9 of 14 PageID #: 9




                (6)     Failing to pay claims pursuant to R.S. 22:1893 when such a failure is
                arbitrary, capricious, or without probably cause.”

        37.     The Plaintiffs allege and maintain that Defendant’s conduct, as set forth in

 this Complaint, was and continues to constitute a breach of Defendant’s duty of good faith

 and fair delaying and its duty to “adjust claims fairly and promptly and to make a reasonable

 effort to settle claims with the insured.” In particular, Defendant:

                (a)     Misrepresented pertinent facts and insurance policy provision to the
                Plaintiffs;

                (b)     Failed to reasonably investigate and evaluate the coverages owed for
                the Plaintiffs’ claim;

                (c)     Undervalued the Plaintiffs’ claims;

                (d)    Failed to and continues to fail to adequately and timely communicate
                with the Plaintiff causing unnecessary delays, duplicative work, and
                additional expenses for the Plaintiffs;

                (e)     Failed to timely pay the requisite amounts owed under the Policy;

                (f)   Failed to timely make an unconditional tender of the undisputed
                amounts owed under the Policy;

                (g)     Refused to pay the undisputed amounts of the claim;

                (h)    Acknowledged the coverage obligations owed to the Plaintiffs but
                refused to provide coverage to the Plaintiffs;

                (i)     Unreasonably delayed the resolution and payment of claims made by
                the Plaintiffs under the Policy after submission of the required proofs of loss;

                (j)     Unreasonably withheld monetary payment of policy benefits under
                the Policy to the Plaintiffs;

                (k)     Failed to provide the Plaintiffs with any reasonable or justifiable basis
                for withholding policy benefits from the Plaintiffs; and

                (l)     Engaged in conduct prohibited by La. R.S. § 22:1964(14).




 Plaintiffs’ Original Complaint              Page 9 of 14
Case 2:21-cv-02914-JDC-KK Document 1 Filed 08/26/21 Page 10 of 14 PageID #: 10




            38.   As a direct and proximate result of Defendant’s conduct, the Plaintiffs have

  and will continue to incur substantial loss and damage, as well as attorney’s fees and costs,

  experts’ fees and costs, mitigation, investigation and other costs and expenses in excess of the

  jurisdictional limit of this court, according to proof.

            39.   La. R.S § 22:1973(C) provides: “In addition to any general or special damages

  to which a claimant is entitled for breach of the imposed duty, the claimant may be awarded

  penalties assessed against the insurer in an amount not to exceed two times the damages

  sustained or five thousand dollars, whichever is greater. Such penalties, if awarded, shall not

  be used by the insurer in computing either past or prospective loss experience for the purpose

  of setting rates or making rate filings.”

            40.   In addition to the claimed loss and damage as set forth above, the Plaintiffs

  seek penalties under La. R.S. § 22:1973(C) for Defendant’s acts or omissions as set forth

  herein.

                        D. COUNT 4: VIOLATIONS OF LA. R.S. §22:1892

            41.   The Plaintiffs repeat, reallege, and incorporate by reference each and every

  allegation contained in paragraphs 1 through 40 of this Original Complaint.

            42.   La. R.S. §22:1892(A)(1) provides: “All insurers issuing any type of contract,

  other than those specified in R.S. 22:1811, 1821, and Chapter 10 of Title 23 of the Louisiana

  Revised Statutes of 1950, shall pay the amount of any claim due any insured within thirty days

  after receipt of satisfactory proofs of loss from the insured or any party in interest. The insurer

  shall notify the insurance producer of record of all such payments for property damage claims

  made in accordance with this Paragraph.”




  Plaintiffs’ Original Complaint              Page 10 of 14
Case 2:21-cv-02914-JDC-KK Document 1 Filed 08/26/21 Page 11 of 14 PageID #: 11




         43.     La. R.S. § 22:1892(A)(4) provides: “All insurers shall make a written offer to

  settle any property damage claim, including a third-party claim, within thirty days after receipt

  of satisfactory proofs of loss of that claim.”

         44.     La. R.S. § 22:1892(C)(2) provides: “No insurer shall intentionally or

  unreasonably delay, for more than three calendar days, exclusive of Saturdays and Sundays,

  and legal holidays, after presentation for collection, the processing of any properly executed

  and endorsed check or draft issued in a settlement of an insurance claim.”

         45.     The Plaintiffs allege and maintain that the defendant has received satisfactory

  proofs of loss for the claimed losses and damages for which Defendant has failed to pay any

  amount within thirty (30) days, as prescribed by La. R.S. § 22:1892(A)(1).

         46.     The Plaintiffs allege and maintain that Defendant failed to make any written

  offer to settle Plaintiffs’ property damage claim within thirty (30) days after Defendant

  received satisfactory proofs of loss of that claim, as prescribed by La. R.S. § 22:1892(A)(4).

         47.     The Plaintiffs allege and maintain Defendant’s failures as herein alleged were

  and are unreasonable, arbitrary, and capricious.

         48.     As a direct and proximate result of Defendant’s failures, the Plaintiffs have and

  will continue to incur substantial loss and damage, as well as attorney’s fees and costs, experts’

  fees and costs, mitigation, investigation and other costs and expenses in excess of the

  jurisdictional limit of this court, according to proof.

         49.     La. R.S. § 22:1892(B)(1) provides: “Failure to make such payment within

  thirty days after receipt of such satisfactory written proof is and demand therefor or failure to

  make a written offer to settle and property damage claim…within thirty days after receipt of

  satisfactory proofs of loss of that claim, as provided in Paragraphs A(1) and (4), respectively,




  Plaintiffs’ Original Complaint              Page 11 of 14
Case 2:21-cv-02914-JDC-KK Document 1 Filed 08/26/21 Page 12 of 14 PageID #: 12




  or failure to make such payment within thirty days after written agreement or settlement as

  provided in Paragraph (A)(2), when such failure is found to be arbitrary, capricious, or without

  probable cause, shall subject the insurer to a penalty, in addition to the amount of the loss, of

  fifty percent damages on the amount found to be due from the insurer to the insured, or one

  thousand dollars, whichever is greater, payable to the insured…or in the event a partial

  payment or tender has been made, fifty percent of the difference between the amount paid or

  tendered and the amount found to be due as well as reasonable attorney fees and costs. Such

  penalties, if awarded, shall not be used by the insurer in computing either past or prospective

  loss experience for the purpose of setting rates or making rate filings.”

            50.   La. R.S. § 22:1892(C)(3) provides: “Any insurer violating this Subsection shall

  pay the insured or claimant a penalty of two hundred dollars or fifteen percent of the face

  amount of the check or draft, whichever is greater.”

            51.   In addition to the claimed loss and damage as set forth above, the Plaintiffs

  seek penalties under La. R.S. §22:1892(B)(1) and (C)(3) for Defendant’s failures as set forth

  herein.

      E. COUNT 5: BAD FAITH BREACH OF CONTRACT – LA. CIV. CODE ART. 1997

            52.   The Plaintiffs repeat, reallege, and incorporate by reference each and every

  allegation contained in paragraphs 1 through 51 of this Original Complaint.

            53.   La. Civ. Code Art. 1997 provides: “An obligor in bad faith is liable for all the

  damages, foreseeable or not, that are a direct consequence of his failure to perform.”

            54.   The Plaintiffs allege and maintain Defendant is an obligor in bad faith under

  Art. 1997 by and through its acts and/or omissions as set forth in this petition.




  Plaintiffs’ Original Complaint             Page 12 of 14
Case 2:21-cv-02914-JDC-KK Document 1 Filed 08/26/21 Page 13 of 14 PageID #: 13




          55.     As a direct and proximate result of the unfair trade practices of Defendant, the

  Plaintiffs have and will continue to incur substantial loss and damage, as well as attorney’s

  fees and costs, experts’ fees and costs, mitigation, investigation and other costs and expenses

  in excess of the jurisdictional limit of this court, according to proof.

          56.     Defendant is liable for all of the Plaintiffs’ damages, foreseeable or not, that

  are a direct consequence of Defendant’s failure to perform.

                         F. COUNT 6: BREACH OF FIDUCIARY DUTIES

          57.     The Plaintiffs repeat, reallege, and incorporate by reference each and every

  allegation contained in paragraphs 1 through 56 of this Original Complaint.

          58.     Defendant owes the Plaintiffs “a high fiduciary duty to discharge its policy

  obligations to it insured in good faith.” 1

          59.     Defendant breached the fiduciary duties it owed the Plaintiffs by engaging in

  the conduct specified above.

          60.     As a direct and proximate result of the unfair trade practices of Defendant, the

  Plaintiffs have and will continue to incur substantial loss and damage, as well as attorney’s

  fees and costs, experts’ fees and costs, mitigation, investigation and other costs and expenses

  in excess of the jurisdictional limit of this court, according to proof.

                                    VIII. PRAYER FOR RELIEF

          WHEREFORE, the Plaintiffs pray for judgment against Defendant as follows:

          1.      For compensatory, general, and all consequential damages, according to proof;

          2.      For the full amount of policy benefits owed to HEATHER, INC. under the
                  Policy for the loss and damage sustained by HEATHER, INC. as a result of
                  Hurricane Laura and/or Hurricane Delta, which shall include loss and/or



  1
          Kelly v. State Farm Fire & Cas. Co., 2014-1921 (La. 5/5/15, 20), 169 So.3d 328, 341.


  Plaintiffs’ Original Complaint                Page 13 of 14
Case 2:21-cv-02914-JDC-KK Document 1 Filed 08/26/21 Page 14 of 14 PageID #: 14




                  damage arising from the following: property damages, exterior signs, loss of
                  business income, extra expenses, betterment, civil authority, etc…;

          3.      For all damages sustained and statutory penalties pursuant to La. R.S. §§
                  22:1973(C) and 22:1892(B)(1), (C)(3);

          4.      For attorney’s fees and costs;

          5.      For experts’ fees and costs;

          6.      For legal interest, according to proof;

          7.      For punitive and/or treble damages, according to proof; and

          8.      For all such other and further relief as this Court may deem just and proper.

                                IX.     DEMAND FOR JURY TRIAL

          The Plaintiffs hereby demand a trial by jury on all issues triable to a jury and have

  included the requisite fee with this filing.

                                                                  Respectfully Submitted,
                                                                  THE BRASHER LAW FIRM, PLLC




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  Plaintiffs’ Original Complaint                 Page 14 of 14
